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     Attorneys for Defendant
 5
     Packaging Corporation of America
 6
 7
                     UNITED STATES DISTRICT COURT
 8                  EASTERN DISTRICT OF WASHINGTON
 9   JASON MAGSTADT,
10                                          No. 4:21-cv-05051-SMJ
                        Plaintiff,
11
     vs.                                    DEFENDANT PACKAGING
12                                          CORPORATION OF
13   C.R. MEYER AND SONS                    AMERICA’S RULE 7.1
     COMPANY, a foreign                     CORPORATE DISCLOSURE
14   corporation; and PACKAGING             STATEMENT
15   CORPORATION OF
     AMERICA, a foreign
16
     corporation,
17
                   Defendants.
18
           COMES NOW Defendant Packaging Corporation of America, and
19
20   pursuant to Federal Rule of Civil Procedure 7.1, hereby certifies the
21   following:
22
           1.     Defendant Packaging Corporation of America: Defendant
23
24   Packaging Corporation of America is a publicly traded company
25
26
     DEFENDANT PACKAGING                                               KSB LITIGATION, P.S.
27   CORPORAITON OF AMERICA’S                                   510 W. RIVERSIDE AVE., 3RD F
     CORPORATE DISCLOSURE                                               SPOKANE, WA 99201
28   STATEMENT - 1                                                            (509) 624-8988
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 1   organized under the laws of the State of Delaware and does not have a
 2
     parent corporation. The following publicly held companies beneficially
 3
 4   own 10% or more of Defendant Packaging Corporation of America’s
 5
     stock: The Vanguard Group and T.Rowe Price Associates, Inc., both of
 6
 7   which are equity investment companies.

 8       Submitted this 1st day of April, 2021,
 9
                                       KSB LITIGATION, P.S.
10
11
                                      By: s/ William J. Schroeder_________
12
                                        William J. Schroeder
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     DEFENDANT PACKAGING                                               KSB LITIGATION, P.S.
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 1                             CERTIFICATE OF SERVICE
 2
           I hereby certify that on this 1st day of April, 2021, I electronically filed the
 3   foregoing document with the Clerk of the Court using the CM/ECF System, which
 4   in turn automatically generated a Notice of Electronic Filing (NEF) to all parties
     in the case who are registered users of the CM/ECF system. The NEF for the
 5   foregoing specifically identifies recipients of electronic notice. I hereby certify that
 6   I have mailed by United States Postal Service the document to the following non-
     CMECF participants:
 7
 8   William W. Spencer
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11   Attorneys for Defendant
12   C. R. Meyer and Sons Company
13                                           /s/ William J. Schroeder
14                                            William J. Schroeder
15
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26
     DEFENDANT PACKAGING                                                    KSB LITIGATION, P.S.
27   CORPORAITON OF AMERICA’S                                        510 W. RIVERSIDE AVE., 3RD F
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